     Case: 23-40582    Document: 352    Page: 1   Date Filed: 08/16/2024

                              No. 23-40582

            IN THE UNITED STATES COURT OF APPEALS
                     FOR THE FIFTH CIRCUIT


  HONORABLE TERRY PETTEWAY; HONORABLE DERRECK ROSE;
                HONORABLE PENNY POPE,

                                         Plaintiffs-Appellees

                                   v.

GALVESTON COUNTY, TEXAS; MARK HENRY, in his official capacity as
Galveston County Judge; DWIGHT D. SULLIVAN, in his official capacity as
                        Galveston County Clerk,

                                         Defendants-Appellants


                      UNITED STATES OF AMERICA,

                                         Plaintiff-Appellee

                                   v.

     GALVESTON COUNTY, TEXAS; GALVESTON COUNTY
  COMMISSIONERS COURT; MARK HENRY, in his official capacity as
                  Galveston County Judge,

                                         Defendants-Appellants
       Case: 23-40582     Document: 352      Page: 2   Date Filed: 08/16/2024




   DICKINSON BAY AREA BRANCH NAACP; GALVESTON BRANCH
 NAACP; MAINLAND BRANCH NAACP; GALVESTON LULAC COUNCIL
            151; EDNA COURVILLE; JOE A. COMPIAN,

                                              Plaintiffs-Appellees

                                        v.

 GALVESTON COUNTY, TEXAS; MARK HENRY, in his official capacity as
 Galveston County Judge; DWIGHT D. SULLIVAN, in his official capacity as
                         Galveston County Clerk,

                                              Defendants-Appellants


       ON APPEAL FROM THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF TEXAS


     APPELLEE UNITED STATES’ OPPOSED MOTION TO AMEND OR
                   CORRECT THE JUDGMENT


      Under Federal Rule of Appellate Procedure 27 and this Court’s Internal

Operating Procedures thereto, the United States respectfully moves this Court to

amend or correct the remand instructions set out in the Court’s Judgment on

Rehearing En Banc, issued August 1, 2024. Those instructions direct the district

court “to consider the intentional discrimination and racial gerrymandering claims

brought by the Petteway Plaintiffs and the NAACP Plaintiffs.” Judgment 2-3. The

United States also has a discriminatory-purpose claim under Section 2 of the

Voting Rights Act, 52 U.S.C. 10301. That claim remains live because it was not
             Case: 23-40582   Document: 352    Page: 3   Date Filed: 08/16/2024




resolved by the district court and was neither presented nor addressed in this

appeal. The United States requests that the Court clarify that the district court’s

further proceedings on remand include the United States’ discriminatory-purpose

claim.

         1. On May 31, 2022, the United States filed its First Amended Complaint.

See First Am. Compl., United States v. Galveston Cnty., No. 3:22-cv-0093 (S.D.

Tex. May 31, 2022), ECF No. 30. The United States’ complaint alleged that the

Galveston County Commissioners Court’s 2021 redistricting plan violated Section

2 in two respects: (1) because the plan had, “at least in part, the purpose of

denying or abridging the right to vote on account of race, color, or membership in a

language minority group”; and (2) because the “plan results in” such denial or

abridgement. Id. at 24-25 ¶¶ 121-122 (emphases added). “[D]iscriminatory

intent” is “an independent basis for liability” under Section 2. Fusilier v. Landry,

963 F.3d 447, 463 (5th Cir. 2020). “An election practice violates Section 2 . . . if it

is undertaken and maintained for a discriminatory purpose.” Ibid. (citing United

States v. Brown, 561 F.3d 420, 432 (5th Cir. 2009)); see also Brnovich v.

Democratic Nat’l Comm., 594 U.S. 647, 662, 687 (2021).1


        The Petteway Plaintiffs and NAACP/LULAC Plaintiffs also alleged both
         1

discriminatory-results and discriminatory-purpose claims under Section 2 in
addition to intentional discrimination and racial gerrymandering claims under the
Fourteenth and Fifteenth Amendments. See Second Am. Compl. 29-32, Petteway

                                         -2-
          Case: 23-40582    Document: 352     Page: 4    Date Filed: 08/16/2024




      2. The United States litigated both its Section 2 discriminatory-purpose

claim and its Section 2 discriminatory-results claim to trial in the district court.

See United States’ Post-Trial Br. 1-13, Petteway v. Galveston Cnty.,

No. 3:22-cv-57 (S.D. Tex. Sept. 11, 2023), ECF No. 243 (arguing discriminatory-

results claim was established at trial); id. at 13-25 (arguing discriminatory-purpose

claim was established at trial). 2

      3. The United States’ Section 2 discriminatory-results claim was governed

by the framework set forth in Thornburg v. Gingles, 478 U.S. 30 (1986), while its

Section 2 discriminatory-purpose claim is governed by the framework set forth in

Village of Arlington Heights v. Metropolitan Housing Development Corp., 429

U.S. 252 (1977). See U.S. Post-Trial Br. 2, 13-14, ECF No. 243; Fusilier, 963

F.3d at 463-467 (applying Arlington Heights framework to Section 2

discriminatory-purpose claim).

      4. Defendants-appellants acknowledged below that “[t]here are two types of

Section 2 claims—an intent claim and an effects (result) claim.” See Defs.’

Proposed Findings of Fact & Conclusions of Law 10, ECF No. 245. And they




v. Galveston Cnty., No. 3:22-cv-0093 (S.D. Tex. May 25, 2022), ECF No. 42; First
Am. Compl. 36-38, Dickinson Bay Area Branch NAACP v. Galveston Cnty.,
No. 3:22-cv-117 (S.D. Tex. May 25, 2022), ECF No. 38.
      2
        Subsequent citations of district court docket entries are to the Petteway
docket unless otherwise indicated.
                                        -3-
       Case: 23-40582      Document: 352       Page: 5   Date Filed: 08/16/2024




acknowledged that the United States “allege[d] a Section 2 violation based on

discriminatory intent.” Ibid.

      5. On October 13, 2023, the district court entered judgment in favor of the

United States and other plaintiffs on their claim that the 2021 redistricting plan

violates Section 2’s results test. See Final J., ECF No. 251. As the court explained

in its Findings of Fact and Conclusions of Law, the court’s ruling was made

“[r]egardless of the intent or motivation” of the 2021 plan’s adopters. ECF No.

250, at 156-157. “[T]he court decline[d] to reach the plaintiffs’ remaining

intentional-discrimination and racial-gerrymandering claims.” Id. at 154.

      6. Accordingly, the appeal in this matter has concerned only the United

States’ and other plaintiffs’ Section 2 discriminatory-results claims. As the en

banc Court explained, “the issue of intentional discrimination was not part of the

district court’s Section 2 ruling.” Op. 3 n.1. Accordingly, after reversing the

district court’s judgment as to the results claim, this Court remanded with

instructions “for the district court to consider the intentional discrimination and

racial gerrymandering claims brought by the Petteway Plaintiffs and the NAACP

Plaintiffs.” Op. 30. This Court’s final judgment provides the same instructions.

J. on Reh’g En Banc 2-3. Those instructions, however, do not refer to the United

States’ intentional-discrimination claim under Section 2.




                                         -4-
       Case: 23-40582      Document: 352       Page: 6   Date Filed: 08/16/2024




      7. Because the district court did not decide the United States’ Section 2

discriminatory-purpose claim, that claim was not presented in this appeal and was

not addressed by this Court. Accordingly, the United States’ discriminatory-

purpose claim remains live, and the district court should address it on remand.

      8. Clarifying this Court’s remand instructions now will avoid the possibility

of confusion and uncertainty in the district court’s forthcoming proceedings.

      9. Defendants-appellants indicated that they are opposed to the United

States’ motion and that they will consult and inform the United States within 72

hours whether they plan to file an opposition. The Petteway Plaintiffs do not

oppose the motion. The NAACP/LULAC Plaintiffs do not oppose the substantive

relief sought in the motion, but they believe any briefing or consideration of this

motion should be expedited to allow a decision before the existing date for

issuance of the mandate, in order to avoid any prejudice to any party.




                                         -5-
       Case: 23-40582      Document: 352       Page: 7   Date Filed: 08/16/2024




      For the foregoing reasons, the United States respectfully requests that the

Court amend or correct its remand instructions in its Judgment on Rehearing En

Banc to reflect that the district court should also consider the United States’

discriminatory-purpose claim under Section 2.

                                                 Respectfully submitted,

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                                         -6-
       Case: 23-40582    Document: 352     Page: 8   Date Filed: 08/16/2024




                        CERTIFICATE OF SERVICE

      On August 16, 2024, I filed this motion with the Clerk of the Court by using

the CM/ECF system. Participants in the case are registered CM/ECF users, and

service will be accomplished by the CM/ECF system.

                                            s/ Matthew N. Drecun
                                            MATTHEW N. DRECUN
                                             Attorney
       Case: 23-40582     Document: 352    Page: 9   Date Filed: 08/16/2024




                     CERTIFICATE OF COMPLIANCE

      This motion complies with the type-volume limit of Federal Rule of

Appellate Procedure 27(d)(2) because it contains 969 words, excluding the parts

exempted by Federal Rule of Appellate Procedure 32(f). This motion also

complies with the typeface and type-style requirements of Federal Rule of

Appellate Procedure 32(a)(5) and (6) because it was prepared in Times New

Roman 14-point font using Microsoft Word for Microsoft 365.

                                            s/ Matthew N. Drecun
                                            MATTHEW N. DRECUN
                                             Attorney

Date: August 16, 2024
